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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   LORRAINE M. RAMOS et al.,
                                      Plaintiffs,
   v.                                                       No. 1:15-cv-02556-WJM-MJW

   BANNER HEALTH et al.,
                                      Defendants.

   PLAINTIFFS’ MOTION TO PARTIALLY MODIFY CLASS CERTIFICATION ORDER


        Pursuant to Rule 23(c)(1)(C), Plaintiffs move the Court to partially modify the Order

   Granting in Part Motion for Class Certification (Doc. 296), to the extent the Court denied class

   certification as to Plaintiffs’ claims against Jeffrey Slocum & Associates, Inc. (“Slocum”). Doc.

   296 at 26–27, 31. Defendants raised the Slocum issue for the first time in their supplemental

   brief, which was supposed to be limited to a narrow issue related to advertising. Doc. 290 at 7–8;

   see Doc. 276 at 2. As the Court observed, “Defendants’ supplemental briefing expands their

   argument that the named Plaintiffs are insufficiently familiar with their claims[.]” Doc. 296 at 21

   (emphasis added). Accordingly, the Court based its decision on a one-sided presentation of

   fragments of the named Plaintiffs’ depositions, to which Plaintiffs had no opportunity to respond.

        Contrary to Defendants’ portrayal of Plaintiffs as completely ignorant, several of the

   Plaintiffs, at a minimum, are sufficiently knowledgeable of Slocum’s role to adequately represent

   the class as to claims against Slocum. Moreover, Defendants cited no authority suggesting that a

   plaintiff’s adequacy should be analyzed on a defendant-by-defendant basis, which likely explains

   the omission of such an argument from Defendants’ opposition.

        For these reasons, as explained below, the Court should exercise its broad discretion under
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   Rule 23(c) to modify the order, and certify the claims against Slocum as a class action.

   I.       Standard of Review.

         “An order that grants or denies class certification may be altered or amended before final

   judgment.” Fed.R.Civ.P. 23(c)(1)(C). An initial certification order is “is a preliminary one,” and

   may be amended during the course of the litigation as circumstances warrant. DG v. Devaughn,

   594 F.3d 1188, 1201 (10th Cir. 2010); Beltran v. InterExchange, Inc., No. 14-cv-03074-CMA-

   CBS, 2018 U.S.Dist.LEXIS 49925, *12 (D.Colo. Mar. 27, 2018)(certification decision is

   “inherently tentative”)(quoting Coopers & Lybrand v. Livesay, 437 U.S. 463, 469 n.11 (1978)).

         In contrasts to the typical standard for a motion for reconsideration, a motion to modify a

   class certification order “need not satisfy a heightened standard of review.” Anderson Living Tr.

   v. WPX Energy Prod., LLC, 308 F.R.D. 410, 438 (D.N.M. 2015). “When a district court certifies

   a class action, it has an ongoing responsibility to modify or decertify the class as the need arises,

   and there is no presumption against doing so if the circumstances warrant.” Id. at 439 n.16.

   Rather, modification is appropriate if the movant provides a sufficient “reason for the court to

   change its conclusion.” Whitton v. Deffenbaugh Disposal, Inc., No. 12-2247, 2015 U.S. Dist.

   LEXIS 20938, *8 (D. Kan. Feb. 23, 2015)(citations omitted).

   II.      Plaintiffs are adequate class representatives as to claims against Slocum.

            A.     Plaintiffs did not have an opportunity to address Defendants’ belated
                   argument that Plaintiffs’ Slocum-related knowledge was inadequate.

         The primary opposition to class certification was filed by Banner. Doc. 245. That brief did

   not mention “Slocum.” Id. Banner argued that the Plaintiffs lacked knowledge of the case

   generally because they were purportedly “disinterested” and “uninformed” investors, but made

   no argument that knowledge of Slocum’s role was somehow relevant to adequacy. Id. at 8–13.



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       Slocum filed its own opposition to class certification (Doc. 247), meaning it had ample

   opportunity to argue that a lack of Slocum-related knowledge rendered Plaintiffs inadequate, if

   there were authority for such an argument. While Slocum asserted in a footnote that certain of

   the Plaintiffs had not heard of Slocum before their involvement in the case (id. at 2 n.1), Slocum

   did not argue that this was relevant to the adequacy of the named Plaintiffs. Instead, Slocum

   mostly joined in Banner’s arguments. Id. at 3 (¶7). The few Slocum-specific arguments that

   Slocum raised had nothing to do with the Plaintiffs’ knowledge about Slocum. Id. at 4 (¶8(b)).

       Consequently, Plaintiffs’ reply focused on Banner’s argument regarding the Plaintiffs’

   knowledge of the case generally. Doc. 252 at 1–5.

       On March 1, 2018, the Court direct to parties to submit supplemental briefs not to exceed 8

   pages “exclusively addressing the question of the adequacy of the class representatives, if it is

   the case that all of the named Plaintiffs are pursuing claims against Defendants only in response

   to, and as a result of, counsel’s solicitation.” Doc. 276 at 2 (bold added). Beginning in the middle

   of page 7 of their 8-page supplemental brief, Defendants asserted for the first time that Plaintiffs

   could not “adequately represent a class against Slocum” because they lacked knowledge of what

   Slocum did “aside from what their attorneys told them” and did not understand “the legal claims

   they made against Slocum.” Doc. 290 at 7–8. The Court in fact noted that Defendants had

   “expand[ed] their argument that the named Plaintiffs are insufficiently familiar with their

   claims[.]” Doc. 296 at 21.

           B.      Plaintiffs are adequate representatives for all claims in this case, because
                   they have devoted significant time and effort to the case as a whole.

       In addressing the adequacy issue in the class certification order, the Court found “that the

   correct analysis is not ‘[w]hether . . . the class representative is familiar with the specifics of the


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   complaint,’ but is instead directed at ‘the more critical question of whether that individual will

   adequately represent the claims of the class by devoting time and effort to the lawsuit.’” Doc.

   296 at 21–22 (quoting City P’ship Co. v. Jones Intercable, Inc., 213 F.R.D. 576, 584 (D. Colo.

   2002)). The Court also found “that since contacting counsel each of the named Plaintiffs has

   invested time and effort in this litigation, including by meeting with counsel, reviewing the

   complaint before it was filed, preparing and sitting for depositions, and maintaining contact with

   counsel.” Id. at 22–23.

       The Court included the finding as to Plaintiffs’ “time and effort” in the Court’s analysis of

   “Adequacy as to Banner.” Id. Plaintiffs respectfully submit, however, that the time and effort that

   the named Plaintiffs have invested applies to the litigation as a whole, and is not specific to any

   particular defendant. Plaintiffs have not alleged any counts against Slocum only. Slocum is

   named as a defendant only in Counts I and II, which also includes the Banner Defendants. Doc.

   118 ¶¶120–139. By devoting time and effort to the litigation as a whole and the claims against

   Banner, the named Plaintiffs are necessarily devoting time and effort to litigating the claims

   against Slocum. Regardless of the Plaintiffs’ specific knowledge as to Slocum, the time and

   effort they have devoted to the litigation as a whole, including the claims against Slocum, shows

   that they are adequate representatives.

          C.      Plaintiffs have sufficient knowledge regarding Slocum.

        In finding that “the named Plaintiffs profess no meaningful knowledge of Slocum’s conduct

   or alleged ERISA violations, nor even any working knowledge of the relationship between

   Slocum and Banner,” the Court relied exclusively on Defendants’ hand-picked excerpts attached

   to Defendants’ supplemental brief. Doc. 296 at 26 (citing Docs. 290-1, 290-3, 290-4).




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       The Court may have overlooked that in Surowitz v. Hilton Hotels Corp., 383 U.S. 363

   (1966), the plaintiff’s testimony showed that “she did not understand the complaint at all,” had

   very little “knowledge as to what the lawsuit was about,” and did not know the defendants or

   “the nature of their alleged misconduct.” Id. at 366. Nevertheless, the Supreme Court held that

   the lower courts erred in finding the plaintiff inadequate. Id. at 366–68, 372–74; see also

   Gunnells v. Healthplan Servs., Inc., 348 F.3d 417, 430 (4th Cir. 2003); Baffa v. Donaldson, 222

   F.3d 52, 61 (2d Cir. 2000)(both relying on Surowitz).

       In any event, testimony omitted by Defendants shows that Plaintiffs do, in fact, have

   meaningful knowledge of Slocum’s role in the case:

       Asked what Slocum did with respect to the Plan, Plaintiff McLeod accurately testified that

   Slocum’s role included “[b]eing a fiduciary responsible party to the 401(k) choices of funds, of

   fees, of distribution of fees.” Doc. 252-6 at 14–15 (82:12–83:9); see Doc. 118 ¶37. McLeod

   further testified that her claims against Slocum include whether Slocum’s “choices of funds” and

   “distribution of fees” met the “expected standard of practice” that applies “across the board for

   companies that have fiduciary responsibility for 401(k)s.” Doc. 252-6 at 15–20 (83:10–89:13,

   91:10–92:6); see Doc. 252 at 4 n.5.

       Plaintiff Moffitt understands that Slocum was “charged by Banner; and by law, to act in a

   fiduciary way, that should have enhanced every one of the investors in the plan, but they failed to

   do that.” Ex. 1 at 78:6–25. He understands that Banner and Slocum are the defendants in the

   case. Id. at 118:17–23.

       Plaintiff Ramos understands that Slocum is a defendant. Ex. 2 at 124:15–17. Asked what she

   understands “the allegations against Jeffrey Slocum & Associates to be,” Plaintiff Ramos



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   accurately testified that: “They were an advisor to Banner Health, were paid fees to be advisors

   to Banner Health regarding the 401(k) plan.” Id. at 124:18–22. Plaintiff Williamson testified that

   Slocum’s relationship with Banner was to serve as “the advising board for Banner Health”; i.e., a

   consultant. Doc. 291-1 at 10 (63:12–22); see Doc. 118 ¶37. Plaintiffs Heyrman was not asked

   any questions about Slocum’s role, but when asked who the defendants were, she correctly

   identified Slocum. Ex. 3 at 22:17–20, word index.

       Accordingly, Plaintiffs have sufficient understanding of their claims against Slocum, in

   general terms. As long as one of these individuals is adequate to represent the class as to those

   claims, Rule 23(a)(4) is satisfied. Local Joint Exec. Bd. of Culinary/Bartender Tr. Fund v. Las

   Vegas Sands, Inc., 244 F.3d 1152, 1162 n.2 (9th Cir. 2001); Grasty v. Amalgamated Clothing &

   Textile Workers Union, AFL-CIO, CLC, 828 F.2d 123, 128 (3d Cir. 1987).

                                            CONCLUSION

       The Court should partially modify its class certification order and certify Plaintiffs’ claims

   against Slocum.

   April 11, 2018                                       Respectfully submitted,

                                                        /s/ Jerome J. Schlichter
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 11, 2018, I served this document on all parties via the

   Court’s CM/ECF system.

                                                       /s/ Jerome J. Schlichter




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